_ Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 1 1 of 25

Exhibit A and Exhibit B

What are government accoule securities? s

Key Takeaways. Government securities are

full repaarenit of investe sd principal
periodic coupon or interest payments.

investopadia

hips iewadivesionadiaaunt : ..» Traasay Sanda

What is a Government Security? T-Bills, T-Bonds, and More

Case 1: 21- -CIr- 00352- JEB Document 94- 2 ‘Filed 01/23/24 Page 2 of 25

Exhibits C, D and E

Rores of Aovsony Commies on Rings —1872 Annsowent
Subdivision (ci?) ise. tis intended fo provide procedural implementation of the recently enacted arininal forfeiture provision of the Organized Grime Contre! Act of $970, Tile IX, §1983, and the
Comprehensive Orug Abuse Prevention and Contral Act of 1970, Tile i, G408ia}(2),

The Congress viowed tho provisions of the Organized Crime Control Act of 1972as reestablishing a Hnited common law exkninal frfature. 8. Rep. Ne. 94-617, Osi Cong., fst Seas, 70-86 (1968), The
lagislaive hickory of the Comprehensive Drug Abuse Pravantion and Control At cf 1970 indicaies a oxng’esstonal purpuse fo have sindlar procedtures appty to fhe fvfefure ot pros or, ss under that
a. H, Rep, No. 9:-tdad {part fh. fst Cong. 2d Sess. 84-05 (1970),

Under the commnors law, in 2 criminal forfeiture procoeding the defandant wae apparandly entitle is notice, irs! anda special jury finding on the Saotual iesuas surrounding the declaraiion of foribure which
{olowed his criminal conviction, Subdivision (c}(2} provides for notice. Changes in rules 31 and 32 provide for a special fury finding andiar a judge authorizing the Atorney General io seize the inlerast ot
properly forfetied,

GOTH ae) Hate

Note to Subdivision (9). This rue is @ restatement of axisting law and prectice. iis bened in part on 18 U.S.C. 589 [now 3442] (Sumender by bail),

Notes of Anuisory COMMsrTes on Runes ~ 1658 AmsionENT
Subdivision (c}.—The more inclusive word “terms” is substiuted for "amount" in view of Ihe amendment fo subdivision fal) authorizing releases withoul securfly ort such conditions as are necessary to insure
the appearance of the defendant. The phrase addect-at the endef this cubdivision ia designed to encourage commissioners and judges te set the ierms-of ball so as eliminate unnecessary deiention. See
Stack v Boyle, 342 U.S. 1 495th Bandy x Unied Slates, #3 6.01, 497 (1980); Bandy v United Slates, 82 9.CL 4 (S61: Carbo v United States, €2 9.Ct. 682 (1282); review den, 969 US. BGG (19021,

Subdivision 1d) —The amendments are designed te make possible (and ig encourage} the release on bait of ¢.grealer percentage ef Irdigent delandanis than now are refeased, To the extent that other
considerations make If reasonably Jikely that the delendant will appear i is bolh good practice end good economics bo release Nim on bad evén though he eannol arrange for cosh of bonds ft even smal
amounts, (In faci Khas been suggesied that if may be a denial of congltudcnst nights fo held Indigent prisoners In cusiedy for no ofher reason than their inability {0 raise the money for a bord. Bandy v. Uinied
States, 81 8.Ct, 497 (1960),

The first change authorizes the socaptnce as security of s deposit of cash or government © i-an smount less than the fee amount of the bond. Since 9 defendant lypicslly purchases ¢nalbond =
for a cash paymant of 8 ceriain parcentage of the face of the bond, a direct daposit with the court of that smount (retumable te the defendant upon his sppearance) wil offen be equally edequate as a desarrent
to flight. Cf i CodeGrim Proc, §116-7 (1883),

The second change authorizes the release of ihe defendsnt without finenclat security on his written agreement to appear when other deterrents appear reasonsbly adequate, Sea the discussian of such
deterrents in Bandy». United States, 87 8.04. 197 (1960). it siso permits the imposition of nonfiaancial conditions as the price of dispansing with security for the bond. Such conditions are commonly used in
England, Devin, The Criminal Prosecution in England, 99 (1959). See the suggestion in Note, Bait: An Ancient Practios Reexamined. 70 Yale LJ. 986, 275 (7061) Sat such eonditions “*? * might Include
release in custody of a third party, such as the eonused’s employer, minieler, anomey, or & privaie organization; rateage subject to a duiy to report periodically to the court or other public official; or even release
subject {o a duty to sefum io ja@ each night." Wiktul fadure to appear alter forfeiture of bail is & separate criminal offense and hence an added deierreni to flight. 18U.8.C, 83248.

For iu} discussion and generat approval of he changes mace hare see Repori of the Atinmey General's Commniliee on Poverly and the Admmisiration of Criminal Justice 58-89 (1583).

bese ee a als eee

Page 8
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 3 of 25

{23 Pretective orders.--Sectien 4iRie} of the Comtrolied
Substances Act {21 &.5.C. 883{e}} is amended by adding at the
end the following:

“"28) Order to repatriste and deposit. --

““Y4R} In general.--Pursuant te its authority to
anter @ pretrial reatraining order under this section,
the ceurt may order a defendant ta rapatriate any
property that may be seized and forfeited, and iG

deposit..that..p naling registry. af
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1315 STAT. 359}

or criminal contempt of court, and may also result ia an
enhancement ef the sertemce of the defendart undar the
obstructions ef justice provisions of the Federal
Sentencing Guidelines. ‘*.

Exhibit F Registry Funds Loss

Highlights

‘ The Administrative Office ef the U4. Courts asked whether appropriated funds were avaliable vo restore tosses fn the registry funds wi
the U.8. courts, the proper statutory authority for such restoralions, and whether an erroneous transfer of rasey from the registry of the
US. District Court of Calffomia te the W.8. District Court af Naw York could be rastored. The director of the i fice requested ratief for
the clerk snd fiscal officer, He concluded thai fhe erroreaus trassfer aecyrred white theg were acting in thelr offiedal capacities acd that
the lass was not a result of thelr acting tn bad faith or due to 3 fack of cara siace the Cafffoynia Federat Court had ordered thers te meke
the teansfers, The impraper teansfer occurred In 2 securitias fraud cuss in which five defandants were ordercd to depasit fuads with the
Catifomia Federal Court, Pour of the defendants whe had deposited monies entered into a stipulstion providing that the misnies and
interest deposited in the Califarttin Feders! Court regktry be distributed ta twe chiuges of ofaintiffs in a case before the New York Faderal
Court. The stipulation referred ta the funds ta be transferred us the Cafifarnia Tunds. All of the funds were seat to the Clerk of the Mew
York Federal Court in arcordance with the stipulation. When the array in disbursement bacame manifest fi was Famediately reported, AX
of the funds had beer distributed to the plaintiffs in the New York case and recavery dit sat appear to ba practical Statutory suttertiy ts
aiven the Comptratler General to relleya a disbursing officer of the United States wf arcountability and ssspansibility for any deficiency in
his official alsbursing account where it ts found that the payment was nol the rezuit of had faith or flack of dua care on the dishursing
officers part. The law also authorizes adjusting the accoust by chasging the appropriation or fund avaiable far the disbursing function at

the Une dhe adjustuent io effeaed. asent snather apprapdation specifcakly provided therefor The clerk of the coud was relleved af

Rability for the loss. The fiscal officer's errar was in complying with an erroneous court order and she way granted retief, The amaust
could be restored to the Califomia Federat Court's ragisiry fram thy appropristion currantiy avaliante for the operation of the offices of
clerks of court.

Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 4 of 25

Exhibit G Federal Acquisition Regulation, Part 28 Bonds and Insurance

Page 10
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 5 of 25

Case 1:22-cr-O0016-JEB Document 36 Filed 05/30/23 Page 1 of 13

‘United States Distriet Court
For the District of Columbia
$33 Constitution Avenue N.VY,
Washington D.C. 26067
Chief and Presijing Judge
James Kmanuel Boasherg
ee

united da States District Judge

Case #23-cr-46
ty,

‘Frank Roeco Giustino

For the Record

Frank Rooco Giustino feels conspelled to terminate the services of Evan F linn Sugar in
orderto file, ot the record, the oath of office of: James Emanuel Boasherg, the Chief Judge and
Judge presiding over this orinsinal case. The clerk of court is reminded: 18 USC $2076 and 18
USC $1542(h). Upon File Day when this Document is mailed or delivered to a professional
process server, Frank Rocco Giustino is pro se and therefore, leeway is to be granted regarding

form.

Evan Flinn Sugar has-already delayed this important filing for over four weeks. His a
simple task to file the oath of office signed by James Emanuel Boasberg into the record of this

‘ease. Also, the oath of office for the former Chief Judge, Beryl Alaine Howell, ig to be put int

the court record, Atiached lastly are screenshots positively identifying Evan Flim Sugar.

Case 1:21-cr-00352- “JER Document 94-2 Filed: OL/23/24 Page 6 of 25

Case 1: 29-cr-00016-JEB Document 36 Filed 05/80/23 Page 2 of 13.

STATE OF NEW YORK
COUNTY GF NASSAU SS:
COUNTY CLERK’S OFFICE

| 1, MAUREEN O’CONNELL, County Clerk of the County of Nassau,
State of New York and also Gierk of the Supreme Court in and for said
County and State, the same thing being a Court of Record and having a
seal;

DO HEREBY CERTIFY THAT JENNIFER ANN BINDER

Whose nanie is subscribed to the annexed affidavit, deposition, certificate
of acknowledgment or proof, was at the time of taking the same a NOTARY
PUBLIC in and for the State of New York, duly commissioned and sworn
and qualified to act as such throughout the State of New York; that.
pursuant to law a commission, or a certificate of their official character,
and autograph signature, have been filed In my office; that as such the
Notary Public was duly authorized by the laws of the State of New York to
administer oaths and affirmations, to receive and certify the
acknowledgment or proof of deeds, morigages, powers of attorney and
other written instruments for lands, tsnemenis and hereditaments to be
read in evidence or recorded in this Stata, to. protest notes and to take and
certify affidavits and depositions; and that 1 am well acquainted with the
handwriting of such Notary Public or have compared the signature on the
annexed instrument with their autograph signature deposited in my office,

IN WITNESS WHEREOF, | have hereunto set my hand and affixed my

official seal at MINEOLA, NASSAU COUNTY, NEW YORK on this 227" Day
of MAY, 2023,

Viena 0 Comb

~\ Gpunty Cierk
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 7 of 25

Case 1:23-cr-0O016-JEB Document 36 Filed 05/90/23 Page 3 of 13

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Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 8 of 25

Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 4 of 13

U.S. Department of Justice
Office of Information Policy
44]: Street, NW

Sixth Flear

Washingion DC, 20330-0002

Telephone: (202) 314-3642

April 26, 2023

Frank Giustino Be
Ret POLA-2023-00872

aes
ee ees DRE-GMG
Dear Frank Giasting:

Please be advised that this Office previously processed material concerning the
individual named in your letter in response to prior FOLA request. L have determined that
this material, totaling one page, is appropriate for yelease with excisions made pursuant to
Exemption 6 of the FOIA, $ U.S.C. § 552¢b)(6), which perizins to information the release of
which would constitute a-clearly unwarranted invasion of persorial privacy, Please be advised
that we have considered the foreseeable harm standard when reviewing records and applying
FOIA exemptions.

For your information, Congress exoluded three disexcte categories of law enforcement
and national security records from the requirements of the FOIA, See $ U.S.C. § 55 2{«)
(2018). This response is limited to those records that are subject to the requirements of the
FOIA, This is a standard notification that is giver: to all our ragnesters and should not be taken:
as an indication that excluded records do, or dv not, exist.

You may contact our FOTA Public Liaison, Valeree Villameva, for any forther
assistance and to discuss any aspect of your request at: Office of Information Policy, United
States Department of Justive, 441 G Street NW, Sixth Floor, Washington, DC 20530-0001;
‘telephone at 202-514-3642. ,

Additionally, you may contact the Office of Government Information Services (OGIS)
at the National Archives and Records Administration to inquire about the FOIA, mediation
services they offer. The contact information for GGIS is as follows: Office af Goverment
Information Services, National Archives and Records Administration, Room 2518, 8601
Adelphi Roa, College Park, Maryland 20740-6001; e-mail at ogisdenarz sev: telephone at
, 202-741-5770; tol! free. at 1-877-684-6448; or facsimile at 202-741-5769.

If you are not satistied with this Office’s determination in response to this
request, you may administratively appeal by writing to the Director, Office of Information
Policy, United States. Department of Justice, 441 G Street, NW, 6h Floor, Washington, D.C.
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 9 of 25 a

Case 1:23-cr-00016-JEB Document 36 Filed 05/80/23 Page § of 13.

20530, or you may submit an appeal through O1F’s FOIA STAR porial by creating an account
following the instructions on OIP’s website: buips://wwsw Justice cow/cipsubmileand tracks
fequest-oranpeal. Your appeal must be postmarked or electronically transmitted within 96
days of the date of my response to your request. If you submit your appeal by mail, beth the
letter and the envelope should be clearly marked "Freedom of Information Act Appeal.”

Sincerely,

Douglas KR. Hibbard
Chief, Initial Request Staff
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 10 of 25

Case 1:23-cr-GO016-JEB Document 36 Filed 05/90/23 Page 6 of 13

OATH OF OFFICE FOR UNITED STATES JUDGES

(Tide 28, Sec. 453 and Title 5, Sec, 3331, United States Code}

Constitution and laws of the. United States; and that | will aupport and defend, the

Constitution of the United States against all enemies, forvign and domestic; thet 1 will
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Geely, without aay
sions and that I will well and faithfully discharge

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Date of Entry on Daty “cecum Hh Jit URES

* *Pitle 28, sec:.436 United States Code ax amended.
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 11 of 25

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Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 12 of 25

Case L:23-cr-00016-JEB Document 36 Filed 05/20/23 Page 8 of 13

US. Degartment of Justice
Office of Information Policy
441 G Street, NW

Sixth Fiaor

Washingion, DC, 20536-0001

Telephoriea: (202) 514-3642

April 21, 2023

Re: FOLA~2022-01789
DRE:GMG

Dear Frank Giustino:

This responds te your Freedom of Information Act request dated Angust 11, 2022, and
received in this Office on August 22, 2022, in which you requested copies of the Oaths of
Office for Judge Beryl Nowell and Magistrate Judge:G. Michael. Harvey.

Please be. advised that this Office previously processed records concoming one of the
individuals named in your letter in response to prior FOLA requests, | have determined that
this material, totaling one page, is appropriate for release with excisions made pursuant to
Exenmption 4 of the FOIA, 3 U.S.C, § 552(b}(6), which pertains to information the release of
which would constitute a clearly utwatranted invasion of personal privacy. Please be advised

that we: have. considered the foreseeable-harm standard when reviewing records and applying
FOIA exemptions.

Regarding the portion of your request seeking records pertaining to Magistrate Judge
Harvey, please be advised that the Office. of Legal Policy, for which this Office processes
FOIA requests, maintains records pertaining to all sifting federal judges, except magistrate,
bankruptcy, Tax Court, Veterans Appeals Court, and military Courts of Appeal jadges. The -
Administrative Office of the United States Courts (AOUSC) maintains the personnel files of
ali federal judges, including magistrate judges, As the AQUSC is an entity within the judicial
branch, it is not subject to the FOTA. Although the policy of the AQUSC is not to release
documents to the public, should you wish ta. contact that entity, its address follows:

Judges Compensation and Reticement Services Office
Adininistrative Office ofthe United States Courts
‘Ons Cohunvbus Circle, NE.

Washington, DC 20544

For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOLIA. See 5 U.S.C. § $42(0)
{2018}, This Tesponse is limited to those records that sre subject to the requirements of the
FOIA. This is'a standard notification that is given to all our requesters and should not be taken
as an indication that excluded records do, or do nat, exist.
Case 1:21-cr-00352-JEB Document $ 94-2 Filed OVe3/24 Page 13 of 25

Case 1:23-cr-00016-JEB Document 36 Filed 05/80/23 Page 9 of 13

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You tay contact our FOLA Public Liaison, Valeree Villanueva, for any further
assistance and to discuss any aspect of your request at: Office of Information Policy, United
States Department of Justice, 441 G Street NW, Sixth Floor, Washington, DC 20530-0001;
telephone at 202-514-3642.

Additionally, you may contaet the Office of Government Information Services (OGIS)
at the National Archives and Records Administration to inguite about the POA mediation
services they offer. The contact information for OGIS is as follows: Office of Goverament
Information Services, National Archives and Records Administration, Bias oats a
Adeiphi Road, College Park, Maryland 20740-6001; e-mail al ogischinay
202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5 "162.

If you are not satistied with this Office’s determination in response to this
reqnest, you may adrninisiratively appeal by writing to the Director, Office of tuformation
Policy, United States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C.
20530, or you may submit an appeal through OP's FOLA STAR portal by creating an account
following the insteuctions on OP's website: bites /wasy iuetios wow ain/subm iandktraek-
segnest-or-appeal. Your appeal suist be postmarked or electronically transmitted within 90
days of the date of my response.te your request. If you submit your appeal by mail, both the
letter and the envelope should be clearly marked "Freedom of Information Act. Appeal, 7

Douglas R. Hibbard
Chief, Initial Request Staff
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 14 of 25

Case 1:23-cr00016-JE

R Document 36 Filed 06/80/23 Page 10.of 13

OATH OF OFFICE FOR UNITED STATES JUDGES
(Tia 28, Sec. 453 and Title 5, Seo. 3337, United States Cove)
1h cmmmod@t Aldine Howell wwe do solemnly swear (or affirm) that T will
ailminister justice without respect fa persons, and de equal right te the poor and to the
rich, atid that I will faithfully and impartially discharge and perform all the duties

Constitution and laws of the United States; and that I will support and defend the
Constitution of the United States agsinst.all enemies, foreign and domestic: that { will
bear ine faith and allegiance to the samic; thet 1 tke this obligation freely, without any
enentab neservation or purpose-of evasion; and tht'Y will well and faithtolly discharge the

duties. of the office on which T amuaboutteenter. So nene me Con.

Subsosbed and swoun id: {oriatfitmed) before me this Zi st.

Official station’
Date of birth
Date of Entry. on Dary

* “Tite 28; sec, 496 United States Cade as amended,
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 15 of 25

CLERK'S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

WASHINGTON, D.C. 20007

UNITED STATES OF AMERICA

vg: Ciiininal Number 22-MJ-02 _

Frank Recco Giustine
(Defendant)

TO: ANGELA CAESAR, CLERK’

Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 17 of 25

Case 1:23-cr00016-JEB Docurnent 36 Filed 08/30/23 Page 13 of 13

Date of birth

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OATH OF OFFICE FOR'UNITED STATES JUDGES

(Tithe 28; See, 453 and Title 5, See. 3331, United States Code)

NS as , do solemnly swear (or affirm) that I
will administer justice without respect to persons, and do equal right to the poor and to
the chy and at X wil thy and mpetaly achage ns peor Se SW

bear trae faith and allegiance to the same; that 1 take this obligation freely, without any
mental xeservation or purpose of evasion; #:

nk and faithfully discharge the
duties of the office on which I am about to entey.

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EXHIBIT

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Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 19 of 25

Case 1:23-cr-00016-JEB Document 39 Filed 06/08/23 Page 1of 7

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United States District Court ames E, Béasberg Dato
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For the District of Columbia Clef aie
333 Constitution Avenue N.W.
Washington D.C. 20001

USA

7 Case #23-cr-16

Frank Rocco Giustino

Refusal for Cause
Rules B(1)(c) and E(4)(f)

Comes now Frank Rocco of the GIUSTINO family and Redeemed. Title 12 USC §411
allows for "Them", "They shall be redeemed..." to make demand and be removed from the
national debt Special Drawing Rights (SDR) in the same sense as the original verbiage at Section
16 of the 1913 Federal Reserve Act. Gold is fine white powder. Frank Rocco GIUSTINO, known

as Frank Giustino in this Court, has not been arraigned, The speedy trial clock is long spent.

WS: Reserve Assets (Lable 5.12)
Millions of dollars, end of period

299.667

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Search "Fed Assets Current" for the latest report.
Especially notice Footnote 2 and coined definition for SDR is: The measure of social

conditioning to blindly endorse private credit flor bt Fahad tral bank (Federal Reserve).

JUN - 5 2023

Clerk. US Distinct & Banklapi..
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JUN - 5 2023

Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 20 of 25

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“Yellen updates US debt default deadline to June 5”

A€P https://insiderpaper.com/author/afp/
May 26, 2023 4:53 pm

Source: YouTube Screenshot

US Treasury Secretary Janet Yellen warned Friday of a possible US debt default on June 5 if
Congress fails to raise the ceiling on borrowing, updating a previous estimate of June 1.

“Based on the most recent available data, we now estimate that Treasury will have insufficient
resources to satisfy the government's obligations if Congress has not raised or suspended’ the
debt limit by June 5,” she wrote in a letter to the Republican speaker of the House of
Represeniatives, Kevin McCarthy. (Fit to DOCX for clarity. Emphasis added to "suspended".)

Frank Rocco refuses for cause the two oaths of the alleged judicial officers presiding over
this case because they are both deviant in form. Additionally, Evan Flinn SUGAR has been
negligent and misleading in many ways. Elaboration in chambers is possible through at least 10

itemized grievances covering 20 pages of documentation. These conversations have been

! DE USDC service Is scheduled for June 5, 2023; 1133-13th St NW STE C4, Washington, DC 20005 - (202) 459-4760
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 21 of 25

Case 1:23-cr-00016-JEB Document 39 Filed 06/08/23 Page 3 of 7

consistently witnessed by Frank Rocco's family. Evan Flinn SUGAR was technically
unregistered with the State during this period of “plea bargain" - See Doc 36, Page 13 of 13.
Therefore, it is presumed Frank Rocco has no recourse to the alleged bonding from the State as
an insurance company. As demonstrated within the refusals for cause on the face of both the
HOWELL and BOASBERG oaths of office, Frank Rocco has nat been arraigned, as it is
impossible for the signing attorneys to explain the nature and cause of the accusation and any
and all explanations are considered poor legal advice, indeed. The deviations in form, from the
form prescribed by Congress, are fraudulent and hereby refused for cause, timely. Frank Rocco
has never been arraigned and therefore the speedy trial clock is spe, by any possible
interpretation, and there are no judicial officers present to preside over the trial. There is no

possibility of sovereign or judicial immunity for alleged judicial officers committing such blatant

Sraud..

Below and fully integrated, please find the oaths, refused for cause.

Hil Kleen te .
Frank Rocco GITUSTIL WO

Redeemed Lawiul Me oney
Pursuant to 12 USG Baq 4
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Notary: wart s.
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Yael

Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 22 of 25

Case 1:23-cr-00016-JEB Document 39 Filed 06/08/23 Page 4 of 7

STATE OF NEW YORK
COUNTY OF NASSAU $s:
COUNTY CLERK’S OFFICE

I, MAUREEN O’CONNELL, County Clerk of the County of Nassau,
State of New York and also Clerk of the Supreme Court in and for said

County and State, the same thing being a Court of Record and having a
seal;

DO HEREBY CERTIFY THAT JENNIFER ANN BINDER

Whose name is subscribed to the annexed affidavit, deposition, certificate
of acknowledgment or proof, was at the time of taking the same a NOTARY
PUBLIC in and for the State of New York, duly commissioned and sworm
and qualified to act as such throughout the State of New York; that
pursuant to law a commission, or a certificate of their official character,
and autograph signature, have been filed in my office; that as such the
Notary Public was duly authorized by the laws of the State of New York to
administer oaths and affirmations, to receive and certify the
acknowledgment or proof of deeds, mortgages, powers of attorney and
other written instruments for lands, tenements and hereditaments to be
read in evidence or recorded in this State, to protest notes and to take and
certify affidavits and depositions; and that | am well acquainted with the
handwriting of such Notary Public or have compared the signature on the
annexed instrument with their autograph signature deposited in my office,

IN WITNESS WHEREOF, | have hereunto set my hand and affixed my

official seal at MINEOLA, NASSAU COUNTY, NEW YORK on this 2"° Day of
JUNE, 2023.

Meron 0 Comebl

\ Gounty Clerk
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 23 of 25

Case 1:23-cr-00016-JEB Document 39 Filed 06/08/23 Page 5 of 7

Bethpage Transaction History

Frank Giusino

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Your Partnar in o Payments

Thank You for your Payment

This |s your recelpt for payment. A copy |s alsa belng sent to you by email,
Please print this recelpt and retain It for your records,

Payment date: 6/2/2023'3:40714 PM

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Subbotalr 93.00
Site feet $0.74
Payrinnt total: 63.74

The following charges will appear on your credit card or checking
account statement:

$3.06: Nassau County Clerk /
$0.74 to EVO eZpay, LLC for the site fee listed above

Privacy and Security. Terms of Use

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Nassau County Govemment Building
Visitor Pass

Frank
Giustino

Friday, 06 02 2023

Home

©2005-2023 Systems East, Inc,

Thank. You

HAUREEN OCONNELL - County Clerk

By - G02 CR

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Receipt
Case 1:21-cr-00352-JEB Document 94-2 Filed 01/23/24 Page 24 of 25

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OATH OF OFFICE FOR UNITED STATES JUDGES
(Tits 28, Sen 433 ad Te AL, Gop, W351, United Sudes Coda)
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OAT OF OFFICE FOR UNITED STATES JUDGES
(Title 28, Seo. 453 and Title 5, Sec, 3331, United States Code)

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Subscribed itnd sworn to far affismed) before sxc this [* __ day
ot_ fii}, 2011,

Hideo, OP

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* Title 28, ace. 446 United Staten Code us ameniled.
